Case 1:14-cr-00230-RC Document 66 Filed 06/30/16 Page 1 of 1

 

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PROB 22-DC
{Rev LSS) 1:14CR00230-1

 

TRANSFER OF JURISDICTION DOCKET NUMDIIN glee Cou

Si y-CAIBL CVAH

 

 

 

 

NAME AND ADDRESS OF PROBATIONER/SUPER VISED RELEASLE DISTRICT DIVISION ¥
Daniela Greene District of Columbia U.S. Probation Office
. NAME OF SENTENCING JUDGE
Rudolph Contreras
DAFES OF PROBATION SUPERVISED FROM 1
RELEASE 05/05/2016 | 05/04/2019

 

 

 

 

OFFENSE F I L E D

False Statements Involving International Terrorism, 18 USC $1001
JUN 3.0 2016

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

Clork,-U.SDistrict & Bankruptcy |
Courts for the District of Columbia
UNITED STATIS DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

IT 1S HEREBY ORDERED that pursuant to 18 U.S.C. 3608 the jurisdiction of the probationer or supervised
releasee named above be wansferred with the records of the Court to the United States District Court for the Northern
District of New York upon that Court's order of acceptance of jurisdiction. This Court hereby expressly consents that
the period of probation or supervised release may be changed by the District Court to which this transfer is made
without further inquiry of this Court.*

 

 

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Date

 

* This sentence may be deleted in the diseretion of the transferring Coust,

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STA LES DISTRICT COUR TL FOR THE Norther District ar New York

 

 

ITIS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and afier the entry of this order.

 

 

Lk Ly

Effective Date nited States District dudwe

 

 

 

 

 
